330 F.2d 704
    UNITED STATES of America, Appellee,v.Frank BASSI, Defendant-Appellant.
    No. 417, Docket 28728.
    United States Court of Appeals Second Circuit.
    Argued April 14, 1964.Decided April 14, 1964.
    
      Robert M. Morgenthau, U.S. Atty.  (Howard L. Jacobs, Jack D. Samuels, Asst. U.S. Attys., of counsel), for appellee.
      James J. Hanrahan, New York City, for defendant-appellant.
      Before WATERMAN, FRIENDLY and HAYS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellant, who had previously been convicted of having violated the narcotic laws, appeals from his conviction below on an indictment alleging two violations of Title 21 U.S.C. 173 and 174, and from the mandatorily imposed sentence of 10 years on each of the two counts, the sentences to run concurrently.  At his trial before a judge sitting without a jury he asserted the affirmative defense that he, an unwilling seller, had been entrapped into the two sales of heroin, one for $4100 and one for $1000, that the Government proved he made.
    
    
      2
      On all the evidence the trial judge held that the affirmative defense was not proven, a result we find to have been properly reached, and as there is also no merit in appellant's other contentions, we affirm the conviction in open court.
    
    